              Case 20-22925-CMB                             Doc 2        Filed 10/14/20 Entered 10/14/20 14:19:19                           Desc Main
                                                                         Document     Page 1 of 7
 Fill in this information to identify your case:
 Debtor 1               Deborah L. Spellman

 Debtor 2
                              First Name            Middle Name                 Last Name
                                                                                                                                                  20-22925
 (Spouse, if filing) First Name       Middle Name                               Last Name
 United States Bankruptcy Court for the:                                 WESTERN DISTRICT OF                                  Check if this is an amended plan, and
                                                                           PENNSYLVANIA

                                                                                                                              list below the sections of the plan that
 Case number:                                                                                                                 have been changed.
 (If known)




Western District of Pennsylvania
Chapter 13 Plan Dated: October                                14, 2020


 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules and judicial
                           rulings may not be confirmable. The terms of this plan control unless otherwise ordered by the court.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. YOUR CLAIM MAY BE REDUCED, MODIFIED, OR
                           ELIMINATED.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           IF YOU OPPOSE THIS PLAN’S TREATMENT OF YOUR CLAIM OR ANY PROVISION OF THIS PLAN, YOU OR
                           YOUR ATTORNEY MUST FILE AN OBJECTION TO CONFIRMATION AT LEAST SEVEN (7) DAYS BEFORE THE
                           DATE SET FOR THE CONFIRMATION HEARING, UNLESS OTHERWISE ORDERED BY THE COURT. THE COURT
                           MAY CONFIRM THIS PLAN WITHOUT FURTHER NOTICE IF NO OBJECTION TO CONFIRMATION IS FILED.
                           SEE BANKRUPTCY RULE 3015. IN ADDITION, YOU MAY NEED TO FILE A TIMELY PROOF OF CLAIM TO BE
                           PAID UNDER ANY PLAN.

                           The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether the plan
                           includes each of the following items. If the “Included” box is unchecked or both boxes are checked on each line, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of any claim or arrearages set out in Part 3, which may result                      Included                    Not Included
              in a partial payment or no payment to the secured creditor (a separate action will be
              required to effectuate
              such limit)
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                       Included                    Not Included
              set out in Section 3.4 (a separate action will be required to effectuate such limit)
 1.3          Nonstandard provisions, set out in Part 9                                                                 Included                    Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee:

              Total amount of $885 per month for a remaining plan term of 60 months shall be paid to the trustee from future earnings as follows:
       Payments: By Income Attachment                  Directly by Debtor                                                 By Automated Bank Transfer
       D#1          $                                  $ 885                                                              $
       D#2          $                                  $                                                                  $
       (Income attachments must be used by Debtors having attachable income)                                              (SSA direct deposit recipients only)

2.2 Additional payments.

                          Unpaid Filing Fees. The balance of $                shall be fully paid by the Trustee to the Clerk of the Bankruptcy court form the first

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            Case 20-22925-CMB                               Doc 2      Filed 10/14/20 Entered 10/14/20 14:19:19                        Desc Main
                                                                       Document     Page 2 of 7
 Debtor                Deborah L. Spellman                                                           Case number

                          available funds.
                                                                                                                                            20-22925

      Check one.

                          None. If “None” is checked, the rest of § 2.2 need not be completed or reproduced.

2.3          The total amount to be paid into the plan (plan base) shall be computed by the trustee based on the total amount of plan payments
             plus any additional sources of plan funding described above.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any, on Long-Term Continuing Debts.

             Check one.

                          None. If “None” is checked, the rest of Section 3.1 need not be completed or reproduced.

3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

             Check one.

                          None. If “None” is checked, the rest of Section 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                          The debtor(s) will request, by filing a separate adversary proceeding, that the court determine the value of the secured claims
                          listed below.

                          For each secured claim listed below, the debtor(s) state that the value of the secured claims should be as set out in the column
                          headed Amount of secured claim. For each listed claim, the value of the secured claim will be paid in full with interest at the rate
                          stated below.

                          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part
                          5. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its
                          entirety as an unsecured claim under Part 5 (provided that an appropriate order of court is obtained through an adversary
                          proceeding).

 Name of               Estimated             Collateral              Value of      Amount of claims Amount of secured          Interest rate Monthly
 creditor              amount of                                     collateral    senior to        claim                                    payment to
                       creditor's                                                  creditor's claim                                          creditor
                       total claim
                       (see Para. 8.7
                       below)
 Cenlar
 Escrow                $9,000.00                                     $0.00                   $0.00             $9,000.00           0.00%                      $160.71
                                             5522
                                             Saltsburg
                                             Road
                                             Verona, PA
                                             15147
                                             Allegheny
                                             County
                                             located in
                                             Penn Hills
                                             Township;
                                             Block & Lot
 Cenlar                $20,000.0             Number
 Mortgage              0                     367-D-130               $80,000.00              $0.00             $5,301.00           5.00%                      $108.75




PAWB Local Form 10 (12/17)                                                        Chapter 13 Plan                                                Page 2
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            Case 20-22925-CMB                               Doc 2      Filed 10/14/20 Entered 10/14/20 14:19:19                        Desc Main
                                                                       Document     Page 3 of 7
 Debtor                Deborah L. Spellman                                                              Case number

 Name of               Estimated             Collateral              Value of          Amount of claims Amount of secured
                                                                                                                                            20-22925
                                                                                                                               Interest rate Monthly
 creditor              amount of                                     collateral        senior to        claim                                payment to
                       creditor's                                                      creditor's claim                                      creditor
                       total claim
                       (see Para. 8.7
                       below)
                                             5522
                                             Saltsburg
                                             Road
                                             Verona, PA
                                             15147
                                             Allegheny
                                             County
                                             located in
                                             Penn Hills
                                             Township;
                                             Block & Lot
                       $20,000.0             Number
 PNC Bank              0                     367-D-130               $80,000.00            $20,000.00            $15,134.82        0.00%                      $270.26

Insert additional claims as needed.

 3.3         Secured claims excluded from 11 U.S.C. § 506.

      Check one.
                          None. If “None” is checked, the rest of Section 3.3 need not be completed or reproduced.

3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced. The remainder of this section will be
                          effective only if the applicable box in Part 1 of this plan is checked

3.5          Surrender of collateral.

             Check one.

                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

3.6          Secured tax claims.

 Name of taxing authority                 Total amount of claim         Type of tax                Interest Rate* Identifying number(s) if       Tax periods
                                                                                                                  collateral is real estate


 -NONE-

Insert additional claims as needed.

* The secured tax claims of the Internal Revenue Service, Commonwealth of Pennsylvania and any other tax claimants shall bear interest at
the statutory rate in effect as of the date of confirmation.

 Part 4:      Treatment of Fees and Priority Claims

4.1          General

             Trustee’s fees and all allowed priority claims, including Domestic Support Obligations other than those treated in Section 4.5, will be paid
             in full without postpetition interest.

4.2          Trustee’s fees




PAWB Local Form 10 (12/17)                                                            Chapter 13 Plan                                            Page 3
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            Case 20-22925-CMB                               Doc 2    Filed 10/14/20 Entered 10/14/20 14:19:19                     Desc Main
                                                                     Document     Page 4 of 7
 Debtor                Deborah L. Spellman                                                      Case number
                                                                                                                                       20-22925
             Trustee’s fees are governed by statute and may change during the course of the case. The trustee shall compute the trustee’s percentage fees
             and publish the prevailing rate on the court’s website. It is incumbent upon the debtor(s)’ attorney or debtor (if pro se) to monitor any
             change in the percentage fees to insure that the plan is adequately funded.

4.3          Attorney's fees.

             Attorney’s fees are payable to Shawn N. Wright. In addition to a retainer of $0.00 (of which $ 0.00 was a payment to reimburse
             costs advanced and/or a no-look costs deposit) already paid by or on behalf of the debtor, the amount of $4,000.00 is to be paid at the rate
             of $100.00 per month. Including any retainer paid, a total of $ 4,000.00 in fees and costs reimbursement has been approved by the
             court to date, based on a combination of the no-look fee and costs deposit and previously approved application(s) for compensation above
             the no-look fee. An additional $ 0.00 will be sought through a fee application to be filed and approved before any additional amount
             will be paid through the plan, and this plan contains sufficient funding to pay that additional amount, without diminishing the amounts
             required to be paid under this plan to holders of allowed unsecured claims.

                 Check here if a no-look fee in the amount provided for in Local Bankruptcy Rule 9020-7(c) is being requested for services rendered to
             the debtor(s) through participation in the court’s Loss Mitigation Program (do not include the no-look fee in the total amount of
             compensation requested, above).

4.4          Priority claims not treated elsewhere in Part 4.

                     None. If “None” is checked, the rest of Section 4.4 need not be completed or reproduced.
Insert additional claims as needed

4.5          Priority Domestic Support Obligations not assigned or owed to a governmental unit.


             If the debtor(s) is/are currently paying Domestic Support Obligations through existing state court order(s) and leaves this section blank, the
             debtor(s) expressly agrees to continue paying and remain current on all Domestic Support Obligations through existing state court orders.

                  Check here if this payment is for prepetition arrearages only.

 Name of Creditor                         Description                                             Claim                          Monthly payment or
 (specify the actual payee, e.g. PA SCDU)                                                                                        pro rata
 None

Insert additional claims as needed.

4.6          Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount.
             Check one.
                     None. If “None” is checked, the rest of § 4.6 need not be completed or reproduced.



4.7          Priority unsecured tax claims paid in full.

 Name of taxing authority                             Total amount of claim         Type of Tax                    Interest rate         Tax Periods
                                                                                                                   (0% If blank)


 -NONE-

Insert additional claims as needed.


 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Debtor(s) ESTIMATE(S) that a total of $12,615.00 will be available for distribution to nonpriority unsecured creditors.

             Debtor(s) ACKNOWLEDGE(S) that a MINIMUM of $3.36 shall be paid to nonpriority unsecured creditors to comply with the liquidation
             alternative test for confirmation set forth in 11 U.S.C. § 1325(a)(4).

PAWB Local Form 10 (12/17)                                                    Chapter 13 Plan                                               Page 4
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            Case 20-22925-CMB                               Doc 2     Filed 10/14/20 Entered 10/14/20 14:19:19                    Desc Main
                                                                      Document     Page 5 of 7
 Debtor                Deborah L. Spellman                                                        Case number
                                                                                                                                       20-22925
             The total pool of funds estimated above is NOT the MAXIMUM amount payable to this class of creditors. Instead, the actual pool of funds
             available for payment to these creditors under the plan base will be determined only after audit of the plan at time of completion. The
             estimated percentage of payment to general unsecured creditors is 0.00%. The percentage of payment may change, based upon the total
             amount of allowed claims. Late-filed claims will not be paid unless all timely filed claims have been paid in full. Thereafter, all late-filed
             claims will be paid pro-rata unless an objection has been filed within thirty (30) days of filing the claim. Creditors not specifically
             identified elsewhere in this plan are included in this class.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims.

Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Postpetition utility monthly payments.

The provisions of Section 5.3 are available only if the utility provider has agreed to this treatment. These payments comprise a single monthly
combined payment for postpetition utility services, any postpetition delinquencies, and unpaid security deposits. The claim payment will not change
for the life of the plan. Should the utility obtain an order authorizing a payment change, the debtor(s) will be required to file an amended plan. These
payments may not resolve all of the postpetition claims of the utility. The utility may require additional funds from the debtor(s) after discharge.

 Name of Creditor                                             Monthly payment                              Postpetition account number
 -NONE-

Insert additional claims as needed.

5.4          Other separately classified nonpriority unsecured claims.

             Check one.

                          None. If “None” is checked, the rest of § 5.4 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected.

             Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

7.1          Property of the estate shall not re-vest in the debtor(s) until the debtor(s) have completed all payments under the confirmed plan.

 Part 8:      General Principles Applicable to All Chapter 13 Plans

8.1          This is the voluntary chapter 13 reorganization plan of the debtor(s). The debtor(s) understand and agree(s) that the chapter 13 plan may be
             extended as necessary by the trustee (up to any period permitted by applicable law) to insure that the goals of the plan have been achieved.
             Notwithstanding any statement by the trustee’s office concerning amounts needed to fund a plan, the adequacy of plan funding in order to
             meet the plan goals remains the sole responsibility of debtor(s) and debtor(s)’ attorney. It shall be the responsibility of the debtor(s) and
             debtor(s)’ attorney to monitor the plan in order to ensure that the plan remains adequately funded during its entire term.

8.2          Prior to the meeting of creditors, the debtor(s) shall comply with the tax return filing requirements of 11 U.S.C § 1308 and provide the
             trustee with documentation of such compliance by the time of the meeting. Debtor(s)’ attorney or debtor(s) (if pro se) shall provide the
             trustee with the information needed for the trustee to comply with the requirements of 11 U.S.C. § 1302 as to the notification to be given to
             Domestic Support Obligation creditors, and debtor(s)’ attorney or debtor(s) (if pro se) shall provide the trustee with the calculations relied
             upon to determine the debtor(s)’ current monthly income and disposable income.




PAWB Local Form 10 (12/17)                                                      Chapter 13 Plan                                             Page 5
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            Case 20-22925-CMB                               Doc 2    Filed 10/14/20 Entered 10/14/20 14:19:19                        Desc Main
                                                                     Document     Page 6 of 7
 Debtor                Deborah L. Spellman                                                        Case number

8.3
                                                                                                                                          20-22925
             The debtor(s) shall have a duty to inform the trustee of any assets acquired while the chapter 13 case is pending, such as insurance
             proceeds, recovery on any lawsuit or claims for personal injury or property damage, lottery winnings, or inheritances. The debtor(s) must
             obtain prior court approval before entering into any postpetition financing or borrowing of any kind, and before selling any assets.

8.4           Unless otherwise stated in this plan or permitted by a court order, all claims or debts provided for by the plan to receive a distribution shall
             be paid by and through the trustee.

8.5          Percentage fees to the trustee are paid on receipts of plan payments at the rate fixed by the United States Trustee. The trustee has the
             discretion to adjust, interpret, and implement the distribution schedule to carry out the plan, provided that, to the extent the trustee seeks a
             material modification of this plan or its contemplated distribution schedule, the trustee must seek and obtain prior authorization of the
             court. The trustee shall follow this standard plan form sequence unless otherwise ordered by the court:

             Level One:                  Unpaid filing fees.
             Level Two:                  Secured claims and lease payments entitled to 11 U.S.C. § 1326(a)(1)(C) pre-confirmation adequate protection
                                         payments.
             Level Three:                Monthly ongoing mortgage payments, ongoing vehicle and lease payments, installments on professional fees, and
                                         postpetition utility claims.
             Level Four:                 Priority Domestic Support Obligations.
             Level Five:                 Mortgage arrears, secured taxes, rental arrears, vehicle payment arrears.
             Level Six:                  All remaining secured, priority and specially classified claims, and miscellaneous secured arrears.
             Level Seven:                Allowed nonpriority unsecured claims.
             Level Eight:                Untimely filed nonpriority unsecured claims for which an objection has not been filed.

8.6          As a condition to the debtor(s)’ eligibility to receive a discharge upon successful completion of the plan, debtor(s)’ attorney or debtor(s) (if
             pro se) shall file Local Bankruptcy Form 24 (Debtor’s Certification of Discharge Eligibility) with the court within forty-five (45) days after
             making the final plan payment.

8.7           The provisions for payment to secured, priority, and specially classified unsecured creditors in this plan shall constitute claims in
             accordance with Bankruptcy Rule 3004. Proofs of claim by the trustee will not be required. In the absence of a contrary timely filed proof
             of claim, the amounts stated in the plan for each claim are controlling. The clerk shall be entitled to rely on the accuracy of the information
             contained in this plan with regard to each claim. Unless otherwise ordered by the court, if a secured, priority, or specially classified creditor
             timely files its own claim, then the creditor’s claim shall govern, provided the debtor(s) and debtor(s)’ attorney have been given notice and
             an opportunity to object. The trustee is authorized, without prior notice, to pay claims exceeding the amount provided in the plan by not
             more than $250.

8.8          Any creditor whose secured claim is not modified by this plan and subsequent order of court shall retain its lien.

8.9          Any creditor whose secured claim is modified or whose lien is reduced by the plan shall retain its lien until the underlying debt is
             discharged under 11 U.S.C. § 1328 or until it has been paid the full amount to which it is entitled under applicable nonbankruptcy law,
             whichever occurs earlier. Upon payment in accordance with these terms and entry of a discharge order, the modified lien will terminate and
             be released. The creditor shall promptly cause all mortgages, liens, and security interests encumbering the collateral to be satisfied,
             discharged, and released.

8.10         The provisions of Sections 8.8 and 8.9 will also apply to allowed secured, priority, and specially classified unsecured claims filed after the
             bar date. LATE-FILED CLAIMS NOT PROPERLY SERVED ON THE TRUSTEE AND THE DEBTOR(S)’ ATTORNEY OR
             DEBTOR(S) (IF PRO SE) WILL NOT BE PAID. The responsibility for reviewing the claims and objecting where appropriate is placed
             upon the debtor(s).

 Part 9:      Nonstandard Plan Provisions

9.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 9 need not be completed or reproduced.

 Part 10: Signatures:

10.1         Signatures of Debtor(s) and Debtor(s)’ Attorney

If the debtor(s) do not have an attorney, the debtor(s) must sign below; otherwise the debtor(s)’ signatures are optional. The attorney for the
debtor(s), if any, must sign below.

By signing this plan the undersigned, as debtor(s)’ attorney or the debtor(s) (if pro se), certify(ies) that I/we have reviewed any prior confirmed
plan(s),order(s) confirming prior plan(s), proofs of claim filed with the court by creditors, and any orders of court affecting the amount(s) or


PAWB Local Form 10 (12/17)                                                     Chapter 13 Plan                                                 Page 6
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            Case 20-22925-CMB                               Doc 2    Filed 10/14/20 Entered 10/14/20 14:19:19                  Desc Main
                                                                     Document     Page 7 of 7
 Debtor                Deborah L. Spellman                                                         Case number
                                                                                                                                    20-22925
treatment of any creditor claims, and except as modified herein, this proposed plan conforms to and is consistent with all such prior plans, orders, and
claims. False certifications shall subject the signatories to sanctions under Bankruptcy Rule 9011.

By filing this document, debtor(s)’ attorney or the debtor(s) (if pro se), also certify(ies) that the wording and order of the provisions in this chapter
13 plan are identical to those contained in the standard chapter 13 plan form adopted for use by the United States Bankruptcy Court for the
Western District of Pennsylvania, other than any nonstandard provisions included in Part 9. It is further acknowledged that any deviation from
the standard plan form shall not become operative unless it is specifically identified as “nonstandard” terms and are approved by the court in a
separate order.

 X     /s/ Deborah L. Spellman                                                X
       Deborah L. Spellman                                                           Signature of Debtor 2
       Signature of Debtor 1

       Executed on            October 8, 2020                                        Executed on

 X     /s/ Shawn N. Wright                                                    Date     October 8, 2020
       Shawn N. Wright
       Signature of debtor(s)' attorney




PAWB Local Form 10 (12/17)                                                   Chapter 13 Plan                                             Page 7
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